                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:06cr384


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
JASON A. LEWIS (2)                       )
________________________________________ )

        THIS MATTER is before the Court upon motions of the defendant for a bill of

particulars (Doc. No. 24) and to dismiss certain counts in the Superseding Indictment for

vagueness (Doc. No. 25).

        Since the filing of the motions, the Grand Jury has returned a Second Superseding

Indictment (Doc. No. 45), rendering the defendant’s complaints about the former indictment

moot.

        IT IS, THEREFORE, ORDERED that the defendant’s motions are DENIED without

prejudice.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.

                                                   Signed: December 22, 2006




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